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                 IN THE UNITED STATES DISTRICT COURT
             NORTHERN DISTRICT OF ILLINOIS EASTERN DIVISION

IN RE: William Shore                  )    Case No.
                                      )
                                      )
     Plaintiff                        )    COMPLAINT
                                      )
                                      )
v.   Ocwen Loan Servicing, LLC        )    July Demand Requested
     1661 Worthington Road            )
     Suite 660                        )
     Palm Beach, FL 33409             )
     Defendant                        )
______________________________________________________________________
                                COMPLAINT

  Now comes Plaintiff, by and through his attorney, and, for his Complaint alleges as
                                       follows:

      1.    Plaintiff, William Shore bring this action to secure redress from unlawful
            collection practices engaged in by Defendant, Ocwen Loan Servicing,
            LLC. Plaintiff alleges violation of the Fair Debt Collection Practices Act, 15
            U.S.C. Section 1692 et seq. (“FDCPA”).


      2.    The FDCPA makes illegal the misrepresentation of the character, amount
            or legal status of the debt. 15 U.S.C. Section 1692e

      3.    A debt collection may not imply outcomes that are not legally able to come
            to pass. Lox v. CDA, Ltd., 689 F.3d 818, 825 (7th Cir. 2012)
      4.    The Seventh Circuit has stated that "[w]hen language in a debt collection
            letter can reasonably be interpreted to imply that the debt collector will
            take action it has no intention or ability to undertake, the debt collector that
            fails to clarify that ambiguity does so at its peril." Lox v. CDA, Ltd., 689
            F.3d 818, 825 (7th Cir. 2012) (citing Gonzales v. Arrow Financial
            Services,LLC, 660 F.3d 1055, 1063 (9th Cir. 2011)).
      5.    In Wilder vs. J.C. Christensen & Associates, Inc. (Case No. 16-cv-1979)
            (N.D.IL 2016), the Court stated “literally true conditional language in a
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       dunning letter can be deceptive if the action suggested is legally
       prohibited.” Id.

                      JURISDICTION AND VENUE
6.     This court has jurisdiction pursuant to 28 U.S.C. Section 1331, 1337,
       1367; and 15 U.S.C. section 1692(d).
7.     Venue is proper because a substantial part of the events giving rise to this
       claim occurred in this District.


                              PARTIES
8.     Plaintiff incurred an obligation to pay money, the primary purpose of which
       was for personal, family, or household uses (the “Debt”).
9.     Plaintiff is a resident of the State of Illinois.

10.    Defendant ("Ocwen Loan Servicing, LLC"), is an Florida business entity
       with an address of 1661 Worthington Road,Suite 660 West Palm Beach,
       FL 33409 operating as a collection agency, and is a "debt collector" as the
       term is defined by 15 U.S.C. Section 1692a(6).

11.    Unless otherwise stated herein, the term “Defendant” shall refer to Ocwen
       Loan Servicing.

12.    Defendant uses instruments of interstate commerce for its principal
       purpose of business, which is the collection of debts.
13.    At all relevant times, Defendant owned the Debt or was retained to collect
       the Debt.
14.    The Debt arose from services provided by the Creditor which were
       primarily for family, personal or household purposes and which meets the
       definition of a “debt” under 15 U.S.C. Section 1692(a)(5)
15.    Plaintiff was in default with the original mortgage at the time the mortgage
       was turned over for servicing to Defendant.
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              FACTS APPLICABLE TO ALL COUNTS


16.    Plaintiff was in arrearage with his mortgage lender before Defendant
       obtained the account.
17.    Plaintiff’s original mortgage loan note was transferred to Defendant at a
       time when Plaintiff was in default for her mortgage.
18.    The Plaintiff’s filed a Chapter 7 Bankruptcy on September 23, 2013.
19.    The Plaintiff was Discharged from his Bankruptcy on January 7, 2014.
20.    Approximately every month since Discharge, they get a debt collection
       letter from Defendant. See Exhibit A.
21.    Each statement has a due date with a specific amount due. See Exhibit
       A.
22.    For this due date, there is a “late fee” of $70.36 if not received by a certain
       date. See Exhibit A.
23.    Each statement lists: (1) “Principal Balance, (2) Escrow Balance, (3)
       Maturity Date (4), “Past Due Payment(s) Amount”, (5) “Fees/Other
       Charges” See Exhibit A.
24.    There is a small notation from Defendant that states “[T]his is the Principal
       Balance only, not the amount required to pay the account in full.     This
       balance may increase over time.” See Exhibit A.
25.    There is also a payment coupon with a due date on each letter. See
       Exhibit A.
26.    On the back of the letter, it states “Important Credit Reporting Notification-
       We may report information about the account to credit bureaus. Late
       payments, missed payments, or other defaults on the account may be
       reflected on your credit report.” See Exhibit A.
27.    Next, on September 7, 2018. Defendant mailed an “INTEREST RATE
       AND MONTHLY PAYMENT INCREASE NOTICE” See Exhibit B.
28.    Plaintiff received said communication on or about September 14, 2018.
29.    The opening statement wrote “[D]uring a recent audit of this account, we
       discovered the interest rate does not match the terms of the mortgage
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       documents.” See Exhibit B.
30.    Right below this it states in bold that “All payments should be made on
       time.” See Exhibit B.
31.    On that same page, the letter states “[I]f the account is in default at the
       time this notice is delivered, Ocwen can continue the default process
       (written all in bold), including assessment of late fees, adverse credit
       reporting and continuation of foreclosure proceedings, even though the
       interest rate and payment amounts are being adjusted.” See Exhibit B.
       FAIR DEBT COLLECTION PRACTICE ACT VIOLATIONS


32.    The Plaintiffs incorporate by reference all of the above paragraphs of this
       Complaint as though fully set forth herein at length.
33.    Defendant violated 15 U.S.C. Section 1692e by misrepresenting the
       amount and/or status of the debt.
34.    Defendant violated 15 U.S.C. Section 1692e by suggesting outcomes that
       could not legally occur for Exhibit A.
35.    Defendant violated 15 U.S.C. Section 1692e by making it clear to Plaintiff
       that he still owed and was liable for this debt in Exhibit B.

                                    STANDING AND INJURY

36.    Plaintiff has suffered an injury in fact that is traceable to Defendant's
       conduct and that is likely to be redressed by a favorable decision in this
       matter.
37.    Specifically, Plaintiff suffered a concrete informational injury as a result of
       Defendant's failure to provide truthful information in connection with its
       attempt to collect an alleged debt from Plaintiff.
38.    The Plaintiff has suffered and continues to suffer actual damages as a
       result of the Defendant’s unlawful conduct.
39.    As a direct consequence of the Defendant’s acts, practices and conduct,
       the Plaintiff suffered and continues to suffer from humiliation, anger,
       anxiety, and frustration.
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                                    JURY DEMAND
40.    Plaintiffs demand a trial by jury.
                                    PRAYER FOR RELIEF
41.    Plaintiffs demand the following relief:



       WHEREFORE, the Court should enter Judgment in favor of Plaintiff and
       against Defendant for:
                    (1) Statutory damages;

                     (2) Attorney fees, litigation expenses and costs of suit; and

                     (3) Such other and further relief as the Court deems proper.

                                            Respectfully submitted,

                                              /s/ John Carlin__________________
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